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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   )
                                            )
v.                                          )
                                            )       Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                      )
                                            )
              Defendant.                    )


            DEFENDANT PAUL J. MANAFORT, JR.’S MOTION
              FOR LEAVE TO FILE UNDER SEAL CERTAIN
     ATTACHMENTS TO MOTION TO MODIFY CONDITIONS OF RELEASE

       Defendant Paul J. Manafort, Jr., by and through counsel, hereby moves for leave

to file under seal certain attachments to be included with his motion to modify the

conditions of his release. The Defendant contends that despite the general policy that

public access to judicial proceedings and judicial records is important to the proper

functioning of our justice system, there is good cause and compelling reasons in this

instance for the two proposed attachments to not be disclosed.

       More specifically, the Defendant seeks leave to file under seal Attachments E and

F to his proposed motion. These attachments are general net asset statements pertaining

to: (1) the Defendant REDACTED; and (2) REDACTED.                  Importantly, neither

REDACTED nor REDACTED are parties to the instant case; rather, this information is

proposed to be included with the motion for the sole purpose of allowing the Court to

perform its proper function – to evaluate the adequacy of the parties’ agreed-upon bond

package under 18 U.S.C Section 3142 and determine the least restrictive conditions that

will reasonably assure the Defendant’s appearance as required. See generally United

States v. Xulum, 84 F.3d 441, 443 (D.C. Cir. 1996) (per curiam).

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       As part of the agreed-upon bail package with the Office of Special Counsel,

REDACTED and REDACTED have agreed to serve as sureties for Mr. Manafort; thus,

they are personally liable should the Defendant not appear as required and should the

substantial package of real estate properties being pledged suffer a diminution in value

under the secured $10 million bond amount. The financial statements, therefore, are

proposed to be included to demonstrate the sureties’ ability to make good on their

guarantees.

       These statements therefore include private financial information of the Defendant

and non-parties that is not available publicly, including the addresses of property, the

names of financial institutions where assets are located, and details of the types and

amounts of assets and liabilities. The motion for bail modification only provides detailed

information with respect to the properties being pledged for bail (174 Jobs Lane,

Bridgehampton, NY; 123 Baxter Street, New York, NY; 601 Fairfax Street, Alexandria,

VA; and 10 St. James Drive, Palm Beach Gardens, FL.) The proposed disclosures will

sufficiently advise the public, but not create unwarranted risk to the Defendant,

REDACTED and REDACTED regarding their finances. The Court has noted on more

than one occasion that this case is subject to substantial publicity and media coverage,

and the identification of the financial assets and liabilities of these non-parties should be

protected.




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       WHEREFORE, Defendant Manafort moves for leave to file under seal

Attachment E and F to his proposed motion to modify conditions of release.

Dated: November 29, 2017                           Respectfully submitted,



                                                   ______________________________
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